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                          EXHIBIT 10
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 7
     Attorneys for Plaintiff
 8   Anne Heiting

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10                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

11                              FOR THE COUNTY OF LOS ANGELES

12
        ANNE HEITING, an individual,             Case No.: 23STCV16758
13
                       Plaintiff,                FIRST AMENDED COMPLAINT
14                                               FOR:
               vs.
15                                                 1. VIOLATIONS OF CIPA (THE
        VITAMIN SHOPPE INDUSTRIES, LLC,               CIPA CALIFORNIA INVASION
16      a New Jersey Corporation; and DOES 1          OF PRIVACY ACT (CAL.
        through 25, inclusive,                        PENAL CODE § 631))
17
                     Defendants.
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 1                                            JURISDICTION

 2          1.       Subject matter jurisdiction is proper in this Court because the amount in

 3   controversy is within this Court’s jurisdictional limit.

 4          2.      This Court has personal jurisdiction over Defendant because, on information and

 5   belief, Defendant conducts a substantial amount of business in Los Angeles County, California.

 6          3.      Venue is proper in the Los Angeles County Superior Court pursuant to Code of

 7   Civil Procedure, §§ 394, 395, and 395.5. Wrongful conduct occurred and continues to occur in this

 8   County. Defendant conducted and continues to conduct business in this County as it relates to its

 9   illegal wiretapping. Additionally, Defendant has sufficient minimum contacts in the State of

10   California or otherwise purposefully avails itself of the California market.

11                                                PARTIES

12          4.      Plaintiff Anne Heiting (“Plaintiff”) is a citizen of California.

13          5.      Defendant Vitamin Shoppe Industries, LLC (“Defendant” or “Vitamin Shoppe”) is

14   a New Jersey corporation that owns, operates, and/or controls vitaminshoppe.com, the website

15   referenced in the allegations below.

16          6.      The above-named Defendant, along with its affiliates and agents, are collectively

17   referred to as “Defendants.” The true names and capacities of the Defendants sued herein as DOE

18   DEFENDANTS 1 through 25, inclusive, are currently unknown to Plaintiff, who therefore sues

19   such Defendants by fictitious names. Each of the Defendants designated herein as a DOE is legally

20   responsible for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the

21   Complaint to reflect the true names and capacities of the DOE Defendants when such identities

22   become known.

23          7.      Plaintiff is informed and believes that at all relevant times, every Defendant was

24   acting as an agent and/or employee of each of the other Defendants and was acting within the

25   course and scope of said agency and/or employment with the full knowledge and consent of each

26   of the other Defendants, and that each of the acts and/or omissions complained of herein was

27   ratified by each of the other Defendants.

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 1                                      FACTUAL ALLEGATIONS

 2          8.      Vitamin Shoppe Industries, LLC is the proprietor of vitaminshoppe.com, an online

 3   platform that sells a variety of vitamins, supplements and health products. During a browsing

 4   session on the Defendant's website, the plaintiff utilized the chat box feature. However, the plaintiff

 5   was not informed that her conversations were being recorded and exploited for commercial

 6   surveillance purposes without her consent. Defendant's deceptive and invasive practices violate

 7   the privacy rights of its customers.

 8          9.      In the context of Vitamin Shoppe’s website, a code is implanted which embeds

 9   content from another website (in this case, BoldChat) within a web page. However, this code

10   intercepts the inquiries that consumers believe are being sent directly to Vitamin Shoppe and

11   diverts them to boldchat.com.

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17          10.     Once boldchat.com gains access to the user's information, it stores it for its own

18   purposes. Vitamin Shoppe fails to inform its website users that their communications are being

19   monitored and stored using an “event listener” as seen below.

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 1             11.   BoldChat also shares the data it collects and stores with Vitamin Shoppe who adds

 2   the data to the existing profiles it has surreptitiously collected from its users. According to its own

 3   stated disclosures, Vitamin Shoppe collects a wide range of personal information from website

 4   users and consumers, including personal identifiers, unique device identifiers, and may deduce

 5   additional demographic details like gender; transaction details; precise location details, including

 6   IP addresses; GPS addresses, various details about website usage, such as links clicked, page

 7   views, searches, time spent, social media interactions, and interactions with others; inferences, and

 8   other information.

 9             12.   Visitors would be shocked and appalled to know that Defendant secretly records

10   those conversations and pays third parties to eavesdrop on them in real time to be “targets” for

11   non descript mercantile campaigns. Defendant should not be permitted to acquire such extensive

12   personal information from unsuspecting consumers who visit their website merely to make a

13   purchase, such as ordering protein powder. This blatant disregard for consumer privacy is

14   unacceptable and warrants appropriate scrutiny and intervention.

15             13.   Within the past year, Plaintiff (a statutory tester) used the chat box feature on

16   Vitamin Shoppe’s site, however, Defendant did not inform Plaintiff that Defendant was not

17   communicating with Vitamin Shoppe at all when chatting online on the vitaminshoppe.com

18   website. Vitamin Shoppe does not disclose its relationship at all to BoldChat, or that Vitamin

19   Shoppe is aiding, abetting, and paying third parties like BoldChat which is recording and

20   commoditizing their communications using the seemingly harmless chat box feature. A feature

21   which, because it is seemingly innocuous and appears to occur on Vitamin Shoppe’s website,

22   would never give rise to the suspicion that it is really a means to collect data and subvert privacy

23   rights.

24             14.   Defendant did not obtain Plaintiff’s express or implied consent to wiretap or allow

25   third parties to eavesdrop on visitor conversations, nor did Plaintiff know at the time of the

26   conversations that Defendant was secretly wiretapping them and allowing third parties to

27   eavesdrop on them.

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 1                                     FIRST CAUSE OF ACTION

 2                         Violations of the California Invasion of Privacy Act

 3                                        Cal. Penal Code § 631(a)

 4          15.     Section 631(a) of California’s Penal Code imposes liability upon any entity that

 5   “by means of any machine, instrument, contrivance, or in any other manner,”

 6                  (1) “intentionally taps, or makes any unauthorized connection, whether

 7   physically, electrically, acoustically, inductively, or otherwise, with any telegraph or telephone

 8   wire, line, cable, or instrument, including the wire, line, cable, or instrument of any internal

 9   telephonic communication system,” or

10                  (2) “willfully and without the consent of all parties to the communication, or in

11   any unauthorized manner, reads, or attempts to read, or to learn the contents or meaning of any

12   message, report, or communication while the same is in transit or passing over any wire, line, or

13   cable, or is being sent from, or received at any place within this state” or (3) “uses, or attempts to

14   use, in any manner, or for any purpose, or to communicate in any way, any information so

15   obtained, or who aids, agrees with, employs, or conspires with any person or persons to

16   unlawfully do, or permit, or cause to be done any of the acts or things mentioned above in this

17   section.” Here, Defendant does all three.

18          16.     Section 631 of the California Penal Code applies to internet communications and

19   thus applies to Plaintiff’s electronic communications with Defendant’s Website.

20          17.     The software embedded on Defendant’s Website to record and eavesdrop upon

21   the Plaintiff’s communications qualifies as a “machine, instrument, contrivance, or ... other

22   manner” used to engage in the prohibited conduct alleged herein.

23          18.     At all relevant times, Defendant aided, abetted, and even paid third parties to

24   eavesdrop upon such conversations.

25          19.     Plaintiff did not expressly or impliedly consent to any of Defendant’s actions.

26          20.     Defendant’s conduct constitutes numerous independent and discreet violations of

27   Cal. Penal Code § 631(a), entitling Plaintiff to injunctive relief and statutory damages.

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 1                                              PRAYER

 2         WHEREFORE, Plaintiff prays for the following relief against Defendant:

 3         1.     An order enjoining Defendant’s conduct as alleged herein and any other

 4         injunctive relief that the Court finds proper;

 5         2.     Statutory damages pursuant to CIPA;

 6         3.     Compensatory damages under CUCA;

 7         4.     Punitive damages under CUCA;

 8         5.     Reasonable attorneys’ fees and costs under CUCA; and

 9         6.     All other relief that would be just and proper as a matter of law or equity, as

10         determined by the Court.

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12   DATED: September 11, 2023                    TAULER SMITH LLP
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14
                                                  By:       /s/ Robert Tauler
15                                                           Robert Tauler, Esq.
                                                             Attorney for Plaintiff
16                                                           Anne Heiting
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 1                                 DEMAND FOR JURY TRIAL

 2         Plaintiff Anne Heiting hereby demands a trial by jury.

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 4
     DATED: September 11, 2023                         TAULER SMITH LLP
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 6
 7                                              By:    /s/ Robert Tauler
                                                        Robert Tauler, Esq.
 8                                                      Attorney for Plaintiff
                                                        Anne Heiting
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                                          PROOF OF SERVICE
 1
                            Re: Anne Heiting v. Vitamin Shoppe Industries, LLC
 2                                      Case No. 23STCV16758
 3
              I, Luca Stein not a party to the within action, hereby declare that on September 11,
 4   2023, I served the attached PLAINTIFF’S FIRST AMENDED COMPLAINT on the
     parties in the within action by USPS First-Class Mail and electronic mail on the following
 5   parties.
 6          Andrea Maddox
 7          William Delgado
            DTO Law
 8          2400 Broadway, Suite 200
            Redwood City, CA 64063
 9          amaddox@dtolaw.com
            wdelgado@dtolaw.com
10
11          Attorney for Defendant
            Vitamin Shoppe Industries, LLC
12
           I declare under penalty of perjury the foregoing to be true and correct. Executed at
13   Los Angeles, California on September 11, 2023.
14
15                                                 ____________________________
                                                   Luca Stein
16
                                                   Assistant to Robert Tauler
17                                                 Attorney for Plaintiff
                                                   Anne Heiting
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